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DFWLRQ DQG IXUWKHU EHLQJ DGYLVHG WKDW WKH SDUWLHV VWLSXODWH WR D GLVPLVVDO ZLWK SUHMXGLFH RI DOO

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        So ORDERED and SIGNED this 8th day of July, 2014.




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                                   LEONARD DAVIS
                                   UNITED STATES DISTRICT JUDGE




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